Bradford J. Sandler, Esq. (NY Bar No. 4499877)
Ilan D. Scharf, Esq. (NY Bar No. 4042107)
Jason S. Pomerantz, Esq. (CA Bar No. 157216)
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
New York, New York 10017
Telephone: (212) 561-7700
Facsimile: (212) 561-7777

Counsel to Plaintiff RDC Liquidating Trust

UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK


 In re:                                                        Chapter 11

 ROCHESTER DRUG CO-OPERATIVE, INC.                             Case No. 20-20230 (PRW)

                              Debtor.



 Advisory Trust Group, LLC, as trustee of the RDC              Adv. Proc. No. 22-02059 (PRW)
 LIQUIDATING TRUST,

                              Plaintiff,
           v.

 GLAXOSMITHKLINE LLC and
 GLAXOSMITHKLINE LLC f/k/a GLAXO
 WELLCOME,

                             Defendants.


                STIPULATION OF DISMISSAL OF ADVERSARY PROCEEDING


          Plaintiff Advisory Trust Group, LLC, in its capacity as the Liquidating Trustee of the

RDC Liquidating Trust, and defendants Glaxosmithkline LLC and Glaxosmithkline LLC f/k/a

Glaxo Wellcome (together, the “Parties”), have entered into a settlement agreement that resolves




DOCS_LA:349230.2 75015/003
the claims asserted in the above-captioned adversary proceeding. Accordingly, the Parties

hereby stipulate, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, made

applicable to this adversary proceeding by Rule 7041 of the Federal Rules of Bankruptcy

Procedure, to the dismissal with prejudice of this adversary proceeding, with each party to bear

its own attorneys’ fees and costs.


  STIPULATED AND AGREED:

  Dated: May 26, 2023                                  Dated: May 26, 2023

  PACHULSKI STANG ZIEHL & JONES LLP                    MORGAN, LEWIS & BOCKIUS LLP


  /s/ Ilan D. Scharf                                   /s/ Nakisha Duncan
  Bradford J. Sandler (NY Bar No. 4499877)             John C. Goodchild, III (PA Bar No. 564398)
  Ilan D. Scharf (NY Bar No. 4042107)                  1701 Market Street
  Jason S. Pomerantz (CA Bar No. 157216)               Philadelphia, PA 19103
  780 Third Avenue, 34th Floor                         Telephone: (215) 963-5000
  New York, NY 10017                                   Email: john.goodchild@morganlewis.com
  Telephone: (212) 561-7700
  Email: bsandler@pszjlaw.com                          -and-
             ischarf@pszjlaw.com
             jspomerantz@pszjlaw.com                   Nakisha Duncan (TX Bar No. 5618996)
                                                       1000 Louisiana Street, Suite 4000
  Counsel to Plaintiff RDC Liquidating Trust           Houston, TX 77002
                                                       Telephone: (713) 963-5000
                                                       Email: nakisha.duncan@morganlewis.com

                                                       Counsel to Defendants Glaxosmithkline LLC
                                                       and Glaxosmithkline LLC f/k/a Glaxo
                                                       Wellcome


SO ORDERED

DATED: ________________, 2023                       ______________________________
      Rochester, New York                           HON. PAUL R. WARREN
                                                    United States Bankruptcy Judge




DOCS_LA:349230.2 75015/003                      2
